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                    Bernard Jay Patterson, CFE
    6025 Battle Trail, Little Rock, Arkansas 72223   501-276-1108   jay@fulldisclosurellc.com


                               Curriculum Vitae
Bernard Jay Patterson, owner of Full Disclosure, LLC provides forensic and investigative
accounting, auditing and data analytics specific to the mortgage loan servicing, structured
finance and document forensic areas.

    •   Expert witness appearances in numerous state and federal court jurisdictions
    •   Development of methodologies used in the forensic investigation, examination and
        analyses of mortgage loan servicing transactions, securitization processes, document
        forensics, and standing issues.
    •   Development of methodologies used in the reconstruction of mortgage servicing
        accounting data and transactions extracted from proprietary and third party systems of
        record.
    •   Specialized knowledge of the data output and functions of most major mortgage
        servicing systems of record including Loansphere MSP, LSAMS, RealServicing, and
        Fiserve.
    •   Development of methodologies used in the analyses of mortgage servicing transactions
        in the bankruptcy context including bifurcation of funds to pre and post petition
        segments for analyses.
    •   Development of escrow analysis software programs specialized for application in the
        bankruptcy area.
    •   Nationally known in the area of forensic and investigative accounting in the mortgage
        loan servicing and securitization segment including various speaking and teaching
        engagements.
    •   Previous experience: Civil and criminal cases including expert witness testimony,
        deposition testimony, consulting engagements and mediation presentations.
    •   Clients – Attorneys, Attorneys General, Bankruptcy Trustees, County Recording Offices,
        MBS Investors, other governmental entities.
    •   Co-Author – “Foreclosure in California, A Crisis of Compliance” – Results of a stu d y
        completed for the Office of the Assessor-Recorder, San Francisco County, California.
    •   Previous engagement with the Ditech Holding Corporation Consumer Creditor Recovery
        Trust auditing claims.
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Expert Witness Appearances/Admittances:*

   •   United States Bankruptcy Court, Eastern District of Arkansas
   •   United States Bankruptcy Court, Western District of Arkansas
   •   United States Bankruptcy Court, Northern District of Florida.
   •   United States Bankruptcy Court, Eastern District of Kentucky, Lexington Division.
   •   United States Bankruptcy Court, Central District of California.
   •   United States Bankruptcy Court, Southern District of New York.
   •   United States Bankruptcy Court, Southern District of Texas.
   •   United States Bankruptcy Court, Northern District of Texas.
   •   United States Bankruptcy Court, District of Maryland.
   •   United States District Court, District of Oregon
   •   United States District Court, Southern District of Mississippi
   •   United States District Court, Northern District of Illinois
   •   Superior Court, State of California, County of Orange.
   •   Supreme Court, State of New York-Kings, Nassau, & Suffolk Counties.
   •   District Court, Clark County, State of Nevada.
   •   Court of Common Pleas, Cuyahoga County, State of Ohio.
   •   Circuit Court, Eleventh Judicial Circuit, Miami-Dade County, State of Florida.
   •   Circuit Court, Fifteenth Judicial Circuit, Palm Beach County, State of Florida
   •   Circuit Court, County of Jackson, State of Missouri.
   •   State Court, County of Cumberland, State of Maine.
   •   American Arbitration Association.

*See Addendum on last page.

Credentials:

   •   Certified Fraud Examiner – November, 2009



Education:

University of Arkansas Little Rock – Bachelor of Science degree in Accounting.


Current Business:

Full Disclosure, LLC – Owner since October, 2007.
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Instructor/Speaking Engagements:

   •   Instructor/Speaker – Securitization and Servicing Seminar – Shelby, NC – September
       2010.
   •   Instructor/Speaker – Securitization and Servicing Seminar – Las Vegas, NV – February
       2011.
   •   Instructor/Speaker – UCC and Securitization Seminar – Ontario, CA. – September 2011.
   •   Speaker – Debtor/Creditor Fall Legal Institute-Arkansas Bar Association – Fayetteville,
       AR. – November 2011.
   •   Instructor/Speaker – UCC and Securitization Seminar – New York, NY – November
       2011.
   •   Instructor/Speaker – UCC and Securitization Seminar – Orlando, FL – March 2012.
   •   Instructor/Speaker – Advanced Bankruptcy Seminar, Max Gardner – Shelby, NC – April
       2012.
   •   Instructor/Speaker – Bankruptcy Seminar, Max Gardner – Shelby, NC. – August 2012
   •   Instructor/Speaker – Foreclosure Securitization and Servicing Seminar – Max Gardner –
       Charlotte, NC. – October 2012.
   •   Instructor/Speaker – Bankruptcy Seminar, Max Gardner – Shelby, NC. – January 2013
   •   Instructor/Speaker – Bankruptcy Seminar, Max Gardner – Shelby, NC. – September 2013
   •   Instructor/Speaker – Regulation X and Z Seminar, Max Gardner-Shelby, NC. – February
       2014
   •   Instructor/Speaker – Bankruptcy Seminar, Max Gardner – Shelby, NC. – March 2014
   •   Speaker-Foreclosure Seminar – Suffolk County New York Bar Association – May 2014
   •   Instructor/Speaker-Bankruptcy, Regulation X and Z Seminar, Max Gardner-Shelby, NC –
       November 2014.
   •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner-Chicago, IL. May 2015.
   •   Instructor/Speaker-Advanced Bankruptcy Seminar, Max Gardner-Chicago, IL. July
       2015.
   •   Instructor/Speaker-Regulation X and Z Seminar, Max Gardner-New York, NY. August
       2015.
   •   Speaker-National Consumer Law Center (NCLC)-2015 Summer Mortgage Conference.
       August 2015. Washington DC.
   •   Instructor/Speaker-Advanced Bankruptcy Seminar, Max Gardner-Charlotte, NC.
       November 2015.
   •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner-Shelby North Carolina. May
       2016
   •   Speaker – Legal Aid Services of Oklahoma- Foreclosure Defense and Bankruptcy
       Conference. Oklahoma City, Oklahoma. July 2016.
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  •   Instructor/Speaker – Webinar Series – NACA – Mortgage Servicing Loan Accounting.
      January 2017.
  •   Co-Presenter – Webinar - Max Gardner. Bankruptcy Escrow Analyses. February 2017.
  •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner-Charlotte North Carolina. August
      2017
  •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner-Shelby North Carolina. February
      2018.
  •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner-Shelby North Carolina. July
      2018.
  •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner – Shelby North Carolina. October
      2018.
  •   Instructor/Speaker-Bankruptcy Seminar, Max Gardner – Shelby North Carolina.
      December 2018.
  •   Instructor/speaker-Bankruptcy Seminar, Max Gardner-Shelby North Carolina. July 2019.
  •   Co-Presenter – Webinar on Mortgage Loan Forbearances in the CARES Act. Max
      Gardner. May 2020.
  •   Co-Presenter – NCLC Summer Mortgage Virtual Conference – Mortgage Servicing
      Issues. Tom Cox and John Rao. June 17, 2020.
  •   Co-Presenter – The CARES Act and Mortgage Forbearance Webinar – National
      Association of Chapter Thirteen Trustees Academy. Max Gardner – Thad Bartholow –
      Malissa Giles. September 3, 2020.
  •   Co-Presenter – Mortgage Forbearance – What’s Next?/Webinar – National Association
      of Consumer Advocates (NACA). Max Gardner. October 2020
  •   Co-Presenter – Mortgage Forbearance-What’s Next?/Webinar – National Association of
      Consumer Bankruptcy Attorneys (NACBA). Max Gardner. October 2020.
  •   Instructor/Speaker – Max Gardner Bankruptcy Bootcamp Seminar. Gardner-Webb
      University Campus. July 2021.
  •   Co-Presenter – Mortgage Forbearance Webinar – National Association of Consumer
      Advocates (NACA). September 2021.
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Publications/Papers:

“Foreclosure in California, A Crisis of Compliance” – Results of a study completed for the
Office of the Assessor-Recorder, San Francisco County, California. Co-author

“Mortgage Loan Document Custodians, Their Roles, Functions, and Issues”. July, 2014. Not
published.

“Accounting Treatment of Mortgage Loans, It is all about control”. November 2014. Not
published.

Organizations:

   •   Association of Certified Fraud Examiners

Testimony and Case List: Please see attached Case Listing and Addendum to Case Listing.
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                                                                   Bernard Jay Patterson, CFE
                                                                           Case Listing

Date     Case No.       Case Name                                             Court                                     Type

 10/2009 09-03045       Kirkley v. GMAC Mortgage, et al                       US Bankruptcy Court, Texas Northern       Expert Report
                                                                                                                        Mediation Testimony
                                                                                                                        Deposition
 11/2009 05-75240       Elder v. U.S. Bank                                    US Bankruptcy Court, Arkansas Eastern     Expert Report

 12/2009 03-70592       Bullard v. GMAC                                       US Bankruptcy Court, Arkansas Eastern     Expert Report

  5/2010 07-01054       Moffitt v. America's Servicing Company                US Bankruptcy Court, Arkansas Eastern  Expert Report
                                                                                                                     Mediation Testimony
  6/2010 09-01244       Bateman v. Southern Development                       US Bankruptcy Court, Arkansas Eastern Expert Report
                                                                                                                     Trial Testimony
  9/2010 09-CI-00116    Bank of NY Mellon v. Thomas Sexton                    Circuit Court, Bourbon County Kentucky Expert Affidavit

  9/2010 09-75455       Ford v. US Bank, as Trustee                           US Bankruptcy Court, Arkansas Western Expert Affidavit

 10/2010 09-12663       Jackson v. Citimortgage                               US Bankruptcy Court, Arkansas Eastern     Expert Report

 11/2010 CV-2010-6972 Rasberry v. Aurora Loan Services, LLC                   Circuit Court, Jefferson County Arkansas Expert Affidavit

  1/2011 07-51925       Mattox v. Wells Fargo Bank                            US Bankruptcy Court, Kentucky Eastern     Expert Report

  1/2011 10-37569       Mausbach v. Aurora Loan Services                      US Bankruptcy Court, California Central   Expert Affidavit

  2/2011 08-11442       Aurora Loan Svcs v. Rick Phillips, et al              US Bankruptcy Court, Alabama Southern Expert Report

  2/2011 08-11442       Aurora Loan Svcs v. Rick Phillips, et al              US Bankruptcy Court, Alabama Southern Expert Report

  2/2011 10-19328       In Re: Amal S. Tadros                                 US Bankruptcy Court, California Southern Expert Affidavit

  2/2011 10-52208       Suedkamp v. BAC Home Loans Servicing LP               US Bankruptcy Court, Kentucky Eastern     Affidavit of Testimony

  4/2011 07-51925       Mattox v. Wells Fargo Bank                            US Bankruptcy Court, Kentucky Eastern     Deposition Testimony

  4/2011 08-68896       HSBC Bank USA as Trustee v. Blanco                    Circuit Court, 11th Dist, Florida         Expert Affidavit
                       Case 23-01212-MEH              Doc 14-3 Filed 09/25/24 Entered 09/25/24 16:03:57                               Desc
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                                                                 Bernard Jay Patterson, CFE
                                                                             Case Listing

Date     Case No.       Case Name                                               Court                                    Type
  5/2011 11-00466       Lopez v. GMAC Mortgage                                  US Bankruptcy Court, California Southern Expert Affidavit

  5/2011 08-03017       Fitzpatrick v. Countrywide Home Loans                   US Bankruptcy Court, Florida Northern      Expert Report

  5/2011 CV2009-        Wells Fargo Bank v. Wendell Nichols et al               Circuit Court, Jefferson County Alabama Expert Affidavit
         902747
  5/2011 86043505       Deutsche Bank et al v. Chia Ling Chow Watson            Circuit Court, 17th Dist, Broward Cty,     Expert Affidavit
                                                                                Florida
  6/2011 CV-08-90056    Scott v Ocwen Loan Servicing, et al                     Circuit Court, Clarke County Alabama       Expert Affidavit
  6/2011 10-01249       Walter Lacey v. BAC Home Loans Servicing, et al         US Bankruptcy Court, Massachusetts,        Expert Report
                                                                                Eastern
  7/2011 CV-09-600339- Aurora Loan Services v. Basak-Smith                      Superior Court, J.D. of Fairfield, CT      Expert Affidavit
         S
  7/2011 10-22652      Taylor v. HSBC Bank USA as Trustee                       US Bankruptcy Court, New York Southern Expert Affidavit

  8/2011 08-03017       Fitzpatrick v. Countrywide Home Loans                   US Bankruptcy Court, Florida Northern      Deposition Testimony

  8/2011 06-17053       In Re: Roselle Tyson                                    US Bankruptcy Court, New Jersey            Expert Report
  8/2011 CIV507589      Lancaster v. JP Morgan Chase                            Superior Court, California, San Mateo      Expert Affidavit

  8/2011 10-73345       Creel v. Chase Home Finance, et al                      US Bankruptcy Court, Arkansas Western Expert Report

 11/2011 10-01158       Cummings v. EMC Mortgage Corp                           US Bankruptcy Court, Arkansas Eastern      Expert Report

 12/2011 10CV00982      Norman Ziccardi, et al v. BAC Home Loan Svc LP          US District Court, Ohio Northern           Expert Report

 12/2011 11AP00027      Rick A Phillips v. Aurora Loan Services LLC, et al      US Bankruptcy Court, Alabama Southern Expert Affidavit

  1/2012 11CV0392       Citimortgage v. William Gibbs, et al                    District Court, Sedgwick County, Kansas    Expert Report

  2/2012 10-12856       In re: George S. Bevins, Debtor                         US Bankruptcy Court, Northern Dist.,       Expert Report
                                                                                New York
  3/2012 11-00415       Oberg v. Bank of America, et al                         US District Court, Mississippi, Southern   Expert Report

  3/2012 11-00419       Hopkins v. Bank of America, et al                       US District Court, Mississippi, Southern   Expert Report
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                                                                  Bernard Jay Patterson, CFE
                                                                             Case Listing

Date     Case No.         Case Name                                             Court                                       Type
  3/2012 30-2011-         Aurora Loan Services v. Daryoush M. Jahromi           Superior Court, Orange County,              Expert Affidavit
         00497899                                                               California
  4/2012 SACV111877       Daniel Tarver v. OneWest Bank fsb, et al              US District Court, Central District,        Expert Affidavit
                                                                                California
  5/2012 BC452571         Alla Furman v. Bank of America, et al                 Superior Court, Los Angeles County,         Expert Affidavit
                                                                                California
  5/2012 10-73345         Jackie Creel, et al v. Chase Home Finance, et al      US Bankruptcy Court, Western Dist.,         Trial Testimony
                                                                                Arkansas
  6/2012 2011CA015437 Regions Bank, et al v. Alvin and Saundra Karp             Circuit Court, Miami Dade County,           Expert Report
                                                                                Florida
  6/2012 2011CA015437 Regions Bank, et al v. Alvin and Saundra Karp             Circuit Court, Miami Dade County,           Deposition Testimony
                                                                                Florida
  6/2012 2011100CV11      Carolyn Sims v. Wells Fargo Bank as Trustee, et al    Circuit Court, Jones County, Mississippi    Expert Report

  6/2012 1188SU20       Bank of America NA v. Policarpo Dacruz, et al       Trial Court, Commonwealth of Mass.              Expert Affidavit
  6/2012 11CV2540       Mark Sanders, et al v. CitiMortgage Inc.            US District Court, Kansas                       Expert Report
  7/2012 11CV395SB      James P. Scheider Jr. et al v. Deutsche Bank NTC as US District Court, South Carolina               Expert Affidavit
                        Trustee
  8/2012 10-28392-ca-24 Bank of New York as Trustee v. Bishan Seneviratne, Circuit Court, Miami Dade County,                Expert Affidavit
                        et al                                               Florida
  8/2012 104580         Bethany Moura v. OneWest Bank, FSB                  Superior Court, State of Rhode Island           Expert Affidavit

  9/2012 30-2011-      Donald Distefano v. HSBC Bank USA as Trustee, et         Superior Court, Orange County,              Trial Testimony
         00451386      al                                                       California
  9/2012 1-11-cv-00420 Gloria Patton v. American Home Mtg Servicing, et         US District Court, Mississippi, Southern    Expert Report
                       al
 10/2012 111826        William Bernardino, et al v. OneWest Bank FSB, et        Superior Court, State of Rhode Island       Expert Affidavit
                       al
 11/2012 CV-2009-      GMAC Mtg LLC, et al v. Derrius E. Silmon, et al          Circuit Court, Jefferson County, State of   Expert Affidavit
         902322                                                                 Alabama
 11/2012 09045276CA    BONY et atl v. Efren Garcia, et al                       Circuit Court, Miami Dade County,           Expert Affidavit
                                                                                Florida
 12/2012 12-656686J       Jeffrey LaPour et al v. OneWest Bank FSB, et al       District Court, Clark County Nevada         Expert Report

  1/2013 CV2010-732       David Corey v. BAC Home Loans Servicing LP            Circuit Court, Jefferson County, State of   Expert Affidavit
                                                                                Alabama
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                                                                 Bernard Jay Patterson, CFE
                                                                              Case Listing

Date     Case No.        Case Name                                             Court                                        Type
  1/2013 CV2010-         BONY Mellon as Trustee, et al v. John M. Ziegler III, Circuit Court, Mobile County, State of       Expert Affidavit
         901266          et al                                                 Alabama
  1/2013 30-2012-        Paul Hoffman v. JPMorgan Chase Bank, NA, et al        Superior Court, Orange County,               Expert Affidavit
         00584366                                                              California
  1/2013 CV2012-00480    Edwin Justin v USBank NA as Trustee for LXS 2006- Superior Court, Coconino County,                 Expert Report
                         14N                                                   Arizona
  2/2013 11-CV-2540      Mark Sanders, et al v. CitiMortgage Inc.              US District Court, District of Kansas        Deposition Testimony
  3/2013 09-44280-CA-    Detusche Bank NTC as Trustee et al v. E               Circuit Court, Miami Dade County,            Expert Report
         10              Caballeriro, et al                                    Florida
  3/2013 09-74910-CA-    Deutsche Bank Trust Co et al v. Jason Savitz, et al Circuit Court, Miami Dade County,              Expert Report
         10                                                                    Florida
  4/2013 11-CV-0392      CitiMortgage v Williams Gibbs, et al                  District Court, Sedgwick County, Kansas      Deposition Testimony

  4/2013 2011-CA-13862 Bank of America, et al v. Hender R. Bermudez, et al Circuit Court, Orange County, Florida            Expert Report

  4/2013 PC 2010-5902    Rafael Genao v. Litton Loan Services, et al             Superior Court, State of Rhode Island      Expert Report

  5/2013 12-656686-J     Lapour, et al v. Onewest Bank, FSB, et al               District Court, Clark County Nevada        Trial Testimony
  5/2013 CACE1121448     Bank of NY Mellon et al v. Vicki Lee Grusby, et al      Circuit Court, Broward County, Florida     Expert Report

  6/2013 12-30614-RAG Jeffrey V Howes v. Wells Fargo Bank NA                     US Bankruptcy Court, Maryland              Expert Report

  6/2013 12-CV-311-HSO Charles Neel et al v. Fannie Mae, et al                   US District Court, Mississippi, Southern   Expert Report

  6/2013 10-11643-SMB In Re: Marcelino Kassiano, et al                           US Bankruptcy Court, New York Southern Expert Affidavit

  7/2013 41386/2009      US Bank NA et al v. Edward A Christensen, et al         Supreme Court, County of Suffolk, New Expert Report
                                                                                 York
  7/2013 N11L-03-097     Deutsche Bank et al, v. Eugene Moss, et al              Superior Court, County of New Castle, Expert Report
                                                                                 Maryland
  7/2013 F-013537-12     Wells Fargo Bank v. Cory Friedman, et al                Superior Court, Monmouth County, New Expert Affidavit
                                                                                 Jersey
  7/2013 RE-09-00056     BONY as Trustee, et al v. Robert J. McKenna, et al      District Court, State of Maine        Expert Affidavit

  8/2013 07-23468CA22 Citigroup Global Markets v Melvin Brooks, Priority Circuit Court, Miami Dade County,                  Expert Affidavit
                      One CU                                             Florida
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                                                                   Bernard Jay Patterson, CFE
                                                                           Case Listing

Date     Case No.     Case Name                                          Court                                           Type
  8/2013 10-32353CA23 BONYM as Trustee et al v. Melissa M. Fung, et al   Circuit Court, Miami Dade County,               Expert Report
                                                                         Florida
  8/2013 10-32353CA24 BONYM as Trustee et al v. Melissa M. Fung, et al   Circuit Court, Miami Dade County,               Deposition Testimony
                                                                         Florida
  8/2013 08-31733      BONY as Trustee, et al v. Richard Von Houtman, et Circuit Court, Broward County, Florida          Expert Report
                       al
  9/2013 12-CV-311-HSO Charles Neel et al v. Fannie Mae, et al           US District Court, Mississippi, Southern        Deposition Testimony

 10/2013 2009-CA-10636 Deutsche Bank et al, v. Lori A. Pheasant, et al        Circuit Court, Collier County, State of    Expert Report
                                                                              Florida
 10/2013 12-00313         Bank of America NA v. Fulcrum Enterprises LLC       US District Court, Texas, Southern         Expert Report

 10/2013 12054-08         HSBC Bank USA NA et al v. Anibal Nieves, et al      Supreme Court, County of Nassau, New       Expert Report
                                                                              York
 10/2013 SPRDC-RE-12-     US Bank NA v. Angie and Daniel Axelsen              District Court, State of Maine             Expert Affidavit
         79
 10/2013 08-31733      BONY as Trustee, et al v. Richard Von Houtman, et Circuit Court, Broward County, Florida          Deposition Testimony
                       al
 11/2013 131881/09     Deutsche Bank, et al v. Lale Karakus, et al          Supreme Court, County of Richmond,           Expert Report
                                                                            New York
 12/2013 10-12490-shl In re: America Sanchez                                US Bankruptcy Court, New York,               Expert Report
                                                                            Southern Dist
 12/2013 12H77SP00342 Fannie Mae v. Debra Brown                             Housing Court, Commonwealth of               Expert Affidavit
         2                                                                  Massachusetts
  1/2014 001686/2006 JPMorgan Chase Bank et al v. Frederick W Butler, Supreme Court, County of Kings, New                Trial Testimony
                       et al                                                York
  1/2014       9054350 Wells Fargo Bank NA et al, v. Robert A Kusher, et al Circuit Court, Broward County, Florida       Expert Report

  2/2014                  CitiMortgage et al, v. Gary R Parker, et al         Circuit Court, County of Kane, Illinois  Expert Affidavit
  3/2014 32528/2012       US Bank NA v. Luc A Fednard, et al                  Supreme Court, County of Suffolk, New Expert Report
                                                                              York
  3/2014 13-20436         In re: Thomas Chennadu, Debtor                      US District Court, Connecticut, Southern Expert Affidavit

  4/2014 12-CV-311-HSO Charles Neel et al v. Fannie Mae, et al                US District Court, Mississippi, Southern   Trial Testimony
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                                                                    Bernard Jay Patterson, CFE
                                                                              Case Listing

Date     Case No.        Case Name                                               Court                                      Type
  4/2014 CV2012-         Wells Fargo Bank na v. Geraldine W Smith                Circuit Court, County of Jefferson,        Expert Affidavit
         903199                                                                  Alabama
  5/2014 12CV012528      RBS Citizens NA v. Peter J Kondos, et al                Circuit Court, County of Milwaukee,        Expert Report
                                                                                 Wisconsin
  5/2014 2012CV01230     Deutsche Bank et al v. Melanie Fresch, et al            Court of Common Pleas, County of           Expert Affidavit
                                                                                 Portage, Ohio
  5/2014 F-010318-13     US Bank as Trustee v Ira A Newman et al                 Superior Court, New Jersey, Monmouth       Expert Report
                                                                                 County
  5/2014 13CIV0436       US Bank as Trustee et al, v. James E Davis, et al       Court of Common Pleas, County of           Expert Affidavit
                                                                                 Medina, Ohio
  5/2014 010087/2010     HSBC Bank USA NA et al v. John Clemente, et al          Supreme Court, New York, Suffolk           Expert Affidavit
                                                                                 County
  5/2014 2012-CV-1282- Leslie Epps v. Bank of America, NA, et al                 Superior Court, Massachusetts              Expert Affidavit
         G
  5/2014 09-23239-RDD In Re: Vincent Tavaglione                                  US Bankruptcy Court, New York,             Expert Report
                                                                                 Southern Dist
  5/2014 02-54927        Victor Faverty v Ocwen Loan Servicing                   US Bankruptcy Court, Ohio, Northern        Expert Report
                                                                                 District
  6/2014 SUCV2013-    FV-1 Inc et al v. Alison B Marlow, et al                   Superior Court, Massachusetts              Expert Affidavit
         04546B
  7/2014 12-01877-MJP Penny Stafford v Suntrust Mortgage Inc et al               US District Court, Washington, Seattle     Expert Report

  7/2014 10-2-24157-     Kevin J Selkowitz v Litton Loan Servicing LP et al      Superior Court, Washington, King County Expert Report
         4KNT
  7/2014 13-00233        Ishee v Federal National Mtg Association et al          US District Court, Mississippi, Southern   Expert Report

  7/2014 13-00234        Ishee v Federal National Mtg Association et al          US District Court, Mississippi, Southern   Deposition Testimony

  8/2014 150285/2014     Adam Plotch v Wells Fargo Bank NA et al                 Supreme Court, New York, Ricmond           Expert Affidavit
                                                                                 County
  8/2014 2013-CA-1346 Wells Fargo Bank v Lee Rohe and Susan Rohe                 Circuit Court, Florida, Monroe County      Expert Affidavit

  8/2014 2013-CA-626-K Deutsche Bank et al v. Cynthia Widmaier, et al            Circuit Court, Monroe County, Florida      Expert Report

  9/2014 13-42762MSH Bello v Cenlar FSB                                          US Bankruptcy Court, Massachusetts,        Expert Report
                                                                                 Central
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                                                                 Bernard Jay Patterson, CFE
                                                                           Case Listing

Date     Case No.        Case Name                                        Court                                            Type
  9/2014 12-CV-3736-B    Dennis Farmer v Federal National Mtg Association Superior Court, Massachusetts                    Expert Affidavit
                         et al
  9/2014 CV-2012-        Fletcher D Turner v CitiMortgage Inc             Circuit Court, Alabama, Mobile County            Expert Affidavit
         902854
  9/2014 9039/2009       Aurora Loan Services LLC v Manuel Ang, et al         Supreme Court, New York, Queens       Expert Affidavit
                                                                              County
  9/2014 380369-2009   HSBC Bank USA NA as Trustee et al vs. Mario            Supreme Court, New York, Bronx County Expert Report
                       Costanz, et al
 10/2014 13SBQ2791311- Oliver Hendricks vs Fannie Mae                    Land Court, Commonwealth of                       Expert Affidavit
         001                                                             Massachusetts
 10/2014 CV110085      David S Baumwohl v JPMorgan Chase Bank NA, et Superior Court, California, Mono County               Expert Report
                       al
 10/2014 CV12-901839- Bank of New York Mellon, et al v Douglas E Arnold, Circuit Court, Jefferson County, State of         Expert Affidavit
         EAF           et al                                             Alabama
 10/2014               Karen L Amundsen v Deutsche Bank National, et al Superior Court, Commonwealth of                    Expert Report
                                                                         Massachusetts
 10/2014 12-20033      PHH Mortgage Corp v. Douglas M Brame              US Bankruptcy Court, District of Maine            Expert Report

 10/2014 BA11E0068QC Lisa Jordan, Administrator v Aurora Loan Services        Trial Court, Commonwealth of Mass.           Expert Affidavit
                      LLC
 10/2014 09-2-09456-8 Walker v Quality Loan Service Corp, et al               Superior Court, State of Washington          Expert Report
 11/2014 F-938466013 Wells Fargo Bank as Trustee v Ernest Byers, et al        Superior Court, State of New Jersey,         Expert Report
                                                                              Essex County
 11/2014 95294           Brian Stone et al v MERS, et al                      Superior Court, State of Rhode Island        Expert Affidavit

 11/2014 13-1-239K       BONY as Trustee v Wilber Kum Yet Hehukai Chang, Circuit Court, State of Hawaii, Third             Expert Report
                         et al                                                Circuit
 12/2014 F-015924-14     BONY as Trustee et al v Anil Narang, et al           Superior Court, State of New Jersey,         Expert Report
                                                                              Essex County
 12/2014 2014-CA-        Wells Fargo Bank as Trustee et al v Alan S Klasfeld, Circuit Court, State of Florida, County of   Expert Report
         012353          et al                                                Palm Beach
 12/2014 7758/2008       BONY as Trustee, et al v Jade McQueen, et al         Supreme Court, State of New York,            Expert Affidavit
                                                                              County of Kings
 12/2014 12-900416       Jonathan Sparkman, et al v Wells Fargo Bank, N.A., Circuit Court, State of Alabama, County        Expert Affidavit
                         et al                                                of Morgan
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Date     Case No.       Case Name                                             Court                                     Type
 12/2014 350/2012       US Bank NA as Trustee, et al v Hugh Duthie, et al     Supreme Court, State of New York,         Trial Testimony
                                                                              County of Kings
 12/2014 14-80672       Novell, et al v Bank of America Corporation           United States District Court, Southern    Expert Report
                                                                              District of Florida
 12/2014 14-80672       Novell, et al v Bank of America Corporation           United States District Court, Southern    Deposition Testimony
                                                                              District of Florida
  1/2015 18463-2013     Ofelia Merino v HSBC Bank USA NA as Trustee, et Supreme Court, State of New York,               Expert Report
                        al                                                    County of Queens
  1/2015 010527/2012    Wells Fargo Bank NA v Niles Webster, et al            Supreme Court, State of New York,         Trial Testimony
                                                                              County of Nassau
  2/2015 14-06038       Summerlin Asset Management et al v. Daniolo P         United States District Court, Eastern     Expert Report
                        Orolfo et al                                          District of New York
  2/2015 F-018731-14    US Bank as Trustee et al, v Jin Choi, et al           Superior Court, State of New Jersey,      Expert Report
                                                                              Bergen County
  3/2015 26418/2007     Deutsche Bank as Trustee et al, v Amy Dostaly, et Supreme Court, State of New York,             Expert Report
                        al                                                    County of Kings
  3/2015 50023/2009     JPMorgan Chase Bank et al v. Louis Corti, et al       Supreme Court, State of New York,         Expert Affidavit
                                                                              County of Suffolk
  3/2015 14630/2013     Nationstsar Mortgage LLC v Christopher Wong           Supreme Court, State of New York,         Expert Affidavit
                                                                              County of Nassau
  3/2015 14-62137       Robert Burdick v. Bank of America, NA, et al          United States District Court, Southern    Expert Report
                                                                              District of Florida
  4/2015 12492/12       US Bank NA as Trustee, et al v Soledad Murillo, et Supreme Court, State of New York,            Trial Testimony
                        al                                                    County of Nassau
  4/2015 32749/2013     US Bank Bank as Trustee, et al v. Joseph Raise, et al Supreme Court, State of New York,         Expert Report
                                                                              County of Rockland
  4/2015 5676/10        Aurora Loan Services LLC v Salomon Cabessa et al Supreme Court, State of New York,              Expert Report
                                                                              County of Rockland
  4/2015 CV2013-        Deutsche Bank as Trustee, et al v Christopher         Circuit Court, State of Alabama, County   Expert Affidavit
         9000061        Baxter, et al                                         of Blount
  5/2015 13-00543       John W Howard, et al v CitiMortgage Inc., et al       United States District Court, Southern    Expert Report
                                                                              District of Mississippi
  5/2015 13-00602       Leticia Lucero v Cenlar FSB et al                     United States District Court, Western     Expert Affidavit
                                                                              District of Washington
  5/2015 14-62137       Robert Burdick v. Bank of America, NA, et al          United States District Court, Southern    Deposition Testimony
                                                                              District of Florida
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Date     Case No.        Case Name                                              Court                                    Type
  6/2015 CV2013-         Wells Fargo Bank NA v. Michael Garber                  Circuit Court, State of Alabama, Winston Expert Affidavit
         900104                                                                 Cty
  6/2015 13-2008-        BONY as Trustee et al v. Donny Marin, et al            Circuit Court, State of Florida, Miami-  Expert Affidavit
         067540                                                                 Dade
  6/2015 12-469212       Heather Campbell et al v. FNMA, et al                  Land Court, Commonwealth of              Expert Affidavit
                                                                                Massachusetts
  7/2015 CV14090621   PennyMac Corp v Corbett                                   Circuit Court, State of Oregon           Expert Affidavit
  7/2015 1302-02516   Wilmington Trust Co et al, v Derek Cox, et al             Circuit Court, State of Oregon           Expert Affidavit
  7/2015 CV13030476   HSBC Bank USA NA as Trustee v Richard Grow, et            Circuit Court, State of Oregon           Expert Affidavit
                      al
  7/2015 CV13030009   US Bank NA et al v. Dean Phillips, et al                  Circuit Court, State of Oregon           Expert Affidavit
  8/2015 2014CA000703 US Bank NA, et al v SEB Enterprice, LLC, et al            Circuite Court, State of Florida, Miami- Expert Report
                                                                                Dade
  8/2015 63CV20149014 Capital Income et al v. Daryl Spencer, et al              Circuit Court, State of Alabama,         Expert Affidavit
         12                                                                     Tuscaloosa
  9/2015 CV-2013-1881 WGB LLC v Philip Bowling, et al                           United States District Court, Northern   Expert Report
                                                                                District of Alabama
  9/2015 CV-2013-1882 WGB LLC v Philip Bowling, et al                           United States District Court, Northern   Deposition Testimony
                                                                                District of Alabama
  9/2015 14CV16406       HSBC Bank USA NA as Trustee et al v. Huse Fazlic,      Circuit Court, County of Multnomah,      Expert Affidavit
                         et al                                                  Oregon
 10/2015 15-06021        Randolph et al v Greentree Servicing LLC               United States Bankruptcy Court, Western Expert Report
                                                                                District of Virginia
 12/2015 32528/2012      US Bank as Trustee v Luc A Fednard, et al              Supreme Court, County of Suffolk, New Expert Affidavit
                                                                                York
 12/2015 1212-16328      County of Multnomah Oregon v MERS                      Circuit Court, County of Multnomah,      Expert Engagement
                                                                                Oregon
 12/2015 8097/2008       Chase Home Finance v Kevin Loomis et al                Supreme Court, County of Suffolk, New Expert Affidavit
                                                                                York
  1/2016 CV 14 834511    Fifth Third Mortgage Co v Cynthia V Hunter, et al      Court of Common Pleas, Cuyahoga          Trial Testimony*
                                                                                County, State of Ohio
  1/2016 13 2008 CA      BONY as Trustee et al, v SSG Worldwide &               Circuit Court, Miami Dade County,        Deposition Testimony
         059791          Nathalian Malo                                         Florida                                  Trial Testimony
  1/2016 20344/2012      JPMorgan Chase v Kellan Waverly, et al                 Supreme Court, County of Kings, New      Expert Affidavit
                                                                                York
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  1/2016 15-01374        Candace Ironhawk et al v Bank2 & Dovenmuehle     United States District Court, District of  Expert Affidavit
                                                                          Oregon
  1/2016 CIV 531332   John Thurrell et al v Wells Fargo Bank NA, et al    Superior Court, County of San Mateo,       Expert Affidavit
                                                                          State of California
  2/2016 12CV012528   RBS Citizens NA v. Peter J Kondos, et al            Circuit Court, Milwaukee County, State Expert Report
                                                                          of Wisconsin
  2/2016 15CV11356    Federal National Mortgage Association v Timonty Circuit Court, County of Columbia, State Expert Affidavit
                      Colfelt; RENX Group LLC, et al.                     of Oregon
  2/2016 F-0224030-14 Wells Fargo Bank NA v. Naresh G Gidwani, et al      Superior Court, County of Middlesex,       Expert Report
                                                                          State of New Jersey
  3/2016 501557/2015 Wells Fargo Bank NA as Trustee, et al vs Cecilia     Supreme Court, County of Kings, New        Expert Affidavit
                      Adebola, et al                                      York
  3/2016 8974/2009    Federal National Mortgage Association v Karl        Supreme Court, County of Nassau, New Expert Affidavit
                      Seper, et al                                        York
  4/2016 30-2015-     Maria Christine Jose v Carrington Mortgage          Superior Court, County of Orange, State Expert Affidavit
         00827200     Services LLC                                        of California
  4/2016 1307-10642   Nationstar Mortgage LLC v Lisa K Stonebridge        Circuit Court, County of Yamhill, State of Expert Affidavit
                                                                          Oregon
  4/2016 146/2010     GMAC Mortgage LLC v Sheila B Shalmoni, et al        Supreme Court, County of Kings, New        Expert Affidavit
                                                                          York
  5/2016 15CV00280    Stephen A Penner, et al v. Wells Fargo Bank, NA, et Superior Court, County of Santa Barbara, Expert Affidavit
                      al                                                  State of California
  5/2016 1416-CV06988 James Levitt, et al v. Citimortgage Inc., et al     Circuit Court, County of Jackson, State of Deposition Testimony
                                                                          Missouri
  6/2016 14-23184     In Re: Francine Silva, Debtor                       United States Bankruptcy Court,            Expert Affidavit
                                                                          Southern District of New York
  7/2016 SC123563     Stephen H Powers v PHH Mortgage Corporation, et Superior Court, County of Los Angeles, Expert Affidavit
                      al                                                  State of California
  7/2016 15-05139     Michael Paul Free, et al v. Deutsche Bank Trust     United States District Court, Western      Expert Report
                      Company Americas, as Trustee, et al                 District of Washington
  7/2016 031319/2016 Malka Neustadt v Bayview Loan Servicing et al        Supreme Court, County of Rockland,         Expert Affidavit
                                                                          State of New York
  7/2016 15-04842     Fannie Mae et al v. Roxann Reynolds Cheek, et al United States Bankruptcy Court,               Expert Affidavit
                                                                          Northern District of Alabama
  8/2016 CV-2015-     Ventures Capital Trust 2013-I-NH v. Fred David      Circuit Court, Mobile County, State of     Expert Affidavit
         900218       Hall, et al                                         Alabama
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  8/2016 CIV 531332      John Thurrell et al v Wells Fargo Bank NA, et al  Superior Court, County of San Mateo,       Deposition Testimony
                                                                           State of California
  8/2016 8030/2012    Bank of America et al v. Judah Liberman, et al       Supreme Court, County of Kings, State of Expert Affidavit
                                                                           New York
  9/2016 CV2015-      BGK Investments Inc v Elaine Martin                  Circuit Court, County of Jefferson, State Expert Affidavit
         902808                                                            of Alabama
  9/2016              Christopher Turner v Huntington National Bank        Court of Common Pleas, County of           Expert Affidavit
                                                                           Mahoning, State of Ohio
 10/2016 16-cv-00101  Stephen Yuszczak et al v. DLJ Mortgage Capital Inc, United States District Court, District of   Expert Affidavit
                      et al                                                Rhode Island
 10/2016 14-CA-741    US Bank NA, et al v. C. David Peacock, et al         Circuit Court, County of Walton, State of Expert Report
                                                                           Florida
 10/2016 15-CV-2430   Peter A Bayer, et al v. Nationstar Mortgage LLC, et United States District Court, District of   Expert Report
                      al                                                   Arizona
 10/2016 CV-14-000275 Pamela J. Shedd v. Wells Fargo Bank NA, et al        United States District Court, Southern     Expert Report
                                                                           District of Alabama
 11/2016 1416-CV06988 James Levitt, et al v. Citimortgage Inc., et al      Circuit Court, County of Jackson, State of Trial Testimony
                                                                           Missouri
 11/2016 16-cv-00195  Mark A Bowen v Ditech Financial LLC, et al           United States District Court, District of  Expert Report
                                                                           Maine
 11/2016 RE-11-20     US Bank NA as Trustee for RASC2005-KS9 v             State Court, County of Cumberland,         Expert Affidavit
                      Thomas Manning                                       State of Maine
 11/2016 CV-15070620 Wells Fargo Bank NA v. Todd Tomlinson, et al          Circuit Court, County of Clackamas, State Expert Affidavit
                                                                           of Oregon
 12/2016 16-cv-00120  Nick P Allen, et al V Ocwen Loan Servicing LLC et al United States District Court, Western      Expert Report
                                                                           District of Missouri
 12/2016 14-23209     Maria Williams, Debtor                               United States Bankruptcy Court,            Expert Report
                                                                           Southern District of New York
 12/2016 12-38811-CA- HSBC Bank USA NA as Trustee, et al v. Joseph T       Circuit Court, Eleventh Judicial Circuit,  Expert Affidavit
         01           Buset, et al.                                        Count of Miami-Dade, State of Florida

  1/2017 850116/2014     US Bank NA as Trustee, et al V Nilufar Hossain, et    Supreme Court, County of New York,      Expert Affidavit
                         al                                                    State of New York
  1/2017 15-00114-5-     Sofia Alvarez, et al v. PNC Bank NA, et al.           United States Bankruptcy Court, Eastern Expert Report
         SWH                                                                   District of North Carolina
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  1/2017 14-23209        Maria Williams, Debtor                           United States Bankruptcy Court,           Deposition Testimony
                                                                          Southern District of New York
  2/2017 15-cv-1164     Monette E Saccameno v Ocwen Loan Servicing, et United States District Court, Northern       Expert Report
                        al                                                District of Illionois
  2/2017 16-cv-00970    Sakorn Sumedhatip v Bayview Loan Servicing, et al United States District Court, District of Expert Report
                                                                          Nevada
  3/2017 14-cv-00479    Sandy Smith v Bank of America, et al              United State District Court, Southern     Expert Report
                                                                          District of Texas
  3/2017 15-cv-1164     Monette E Saccameno v Ocwen Loan Servicing, et United States District Court, Northern       Deposition Testimony
                        al                                                District of Illionois
  3/2017 16-cv-1754     Noel Goble, et al v Carrington Mortgage Services United States District Court, Northern     Expert Report
                        LLC                                               District of Ohio
  3/2017 02-CV-2014-    NRS Pass Through Trust I et al vs. Jacquelyn L    Circuit Court, State of Alabama, County Expert Affidavit
         903236         Patronas, et al                                   of Mobile
  3/2017 63-CV-2014-    Capital Income et al v. Daryl Spencer, et al      Circuit Court, State of Alabama, County Expert Affidavit
         901412                                                           of Tuscaloosa
  3/2017 14-12954-jlg   In Re: Victoria Garrido                           United States Bankruptcy Court,           Expert Affidavit
                                                                          Southern District of New York
  4/2017 13-01069       Allana Baroni v. Nationstar Mortgage LLC et al    United State Bankruptcy Court, Central Expert Report
                                                                          District of California
  5/2017 CJ-2007-1364 LSF9 Master Participation Trust v Mark Paul Hall, District Court, State of Oklahoma, County Expert Affidavit
                        et al                                             of Oklahoma
  6/2017 PORSC-RE-2016- US Bank NA v John S. Menz, et al                  Superior Court, State of Maine            Expert Affidavit
         221
  6/2017 16-cv-00970    Sakorn Sumedhatip v Bayview Loan Servicing, et al United States District Court, District of Deposition Testimony
                                                                          Nevada
  6/2017 62-CV-13-5336 JP Morgan Chase Bank v Am Trust Bank, et al        District Court, State of Minnesota,       Expert Report
                                                                          County of Ramsey
  8/2017 15-CV-24585    United States of America et al v. Bank of America United States District Court, Southern    Expert Report
                        Corporation                                       District, State of Florida
  8/2017 15-CV-24585    United States of America et al v. Bank of America United States District Court, Southern    Expert Report-Rebuttal
                        Corporation                                       District, State of Florida
  9/2017 17-00022       Remington v Ditech Financial, LLC                 United States Bankruptcy Court, District Expert Report
                                                                          of Maryland
  9/2017 15-CV-24585    United States of America et al v. Bank of America United States District Court, Southern    Deposition Testimony
                        Corporation                                       District, State of Florida
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 10/2017 2014-CA-       Wells Fargo Bank NA as trustee, et al vs Alan S.      Circuit Court, Fifteenth Judicial Circuit,   Trial Testimony
         012353         Klasfeld, et al                                       Palm Beach County, State of Florida

 10/2017 32806/2016E    The Bank of New York Mellon et al v. Mark             Supreme Court, County of Bronx, State Expert Affidavit
                        Johnson, et al                                        of New York
 12/2017 15-22408       In re: Kemone Francis                                 United States Bankruptcy Court,           Expert Affidavit
                                                                              Southern District of New York
 12/2017 15-28519-JDL   In re: Thomas Rickey Dailey, Debtor                   United States Bankruptcy Court, Western Expert Report
                                                                              District of Tennessee
 12/2017 12-04642       In Re: Jerry Michael Tramell, et al, Debtors          United States Bankruptcy Court,           Expert Report
                                                                              Northern District of Alabama
 12/2017 2016-030551-   Pennymac Holdings LLC v Martha Valencia, et al        Circuit Court, Eleventh Judicial Circuit, Expert Report
         CA-01                                                                Count of Miami-Dade, State of Florida

 12/2017 17-08277       Heing Gonzalez v. Nationstar Mortgage LLC             United States Bankruptcy Court, Eastern Expert Affidavit
                                                                              District of New York
  1/2018 16-ap-07078    Jerry W Musteen et al v Carrington Mortgage           United States Bankruptcy Court, Western Expert Affidavit
                        Services LLC                                          District of Arkansas
  2/2018 RE-11-20       US Bank NA as Trustee for RASC2005-KS9 v              State Court, County of Cumberland,        Trial Testimony
                        Thomas Manning                                        State of Maine
  2/2018 16-CV-00219    Walter mcGahey v. Federal National Mortgage           United States District Court, District of Expert Report
                        Association and PHH Mortgage corp                     Maine

  3/2018 17-40457       In re: Arthur L Fisher and Pamela L Fisher, Debtors United States Bankruptcy Court,                Expert Report
                                                                            Northern District of Ohio
  4/2018 15-CV-1164     Monette E Saccameno v Ocwen Loan Servicing, et United States District Court, Northern              Trial Testimony-Jury
                        al                                                  District of Illionois
  5/2018 N15L-03-108    The Bank of New York Mellon et al v. J. M.          Superior Court, State of Delaware              Expert Report
         CLS            Shrewsbury, et al
  5/2018 34954/2012     US Bank NA as Trustee, et al v. Joshua L. Gottlieb Supreme Court, County of Suffolk, New           Expert Affidavit
                                                                            York
  5/2018 CJ-17-61       Uban Financial REO, LLC v. Betty Atwood, et al      District Court, County of Nowata, State        Expert Affidavit
                                                                            of Oklahoma
  8/2018 17-01807       Matthew J Kallin v JPMorgan Chase Bank NA           United States District Court, Eastern          Expert Report
                                                                            District of Wisconsin
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Date     Case No.      Case Name                                          Court                                    Type
  8/2018 13-07031      Jose Trevino et al v. Caliber Home Loans, Inc.     United States Bankruptcy Court,          Expert Report
                                                                          Southern District of Texas
  8/2018 34954/2012    US Bank NA as Trustee, et al v. Joshua L. Gottlieb Supreme Court, County of Suffolk, New Trial Testimony
                                                                          York
  8/2018 12-10986      Allana Baroni v. Nationstar Mortgage LLC et al     United States Bankruptcy Court,          Deposition
                                                                          California, Central District
 10/2018 18-00143      Marion F Egler v. US Bank NA as Trustee, et al     United States District Court, Eastern    Expert Report
                                                                          District of North Carolina
 10/2018 17CV00876     Michael T. Bennett v. US Bank NA as Trustee, et al Superior Court, County of Santa Barbara, Expert Affidavit
                                                                          State of California
 10/2018 12-10986      Allana Baroni v. Nationstar Mortgage LLC et al     United States Bankruptcy Court,          Trial Testimony
                                                                          California, Central District
 11/2018 2017 CA       Nationstar Mortgage v Michael F. Flood, et al      Superior Court, District of Columbia     Expert Report
         004333
 12/2018 12-03536      Richard J Miles III v. Rounpoint Mortgage Servicing United States Bankruptcy Court,           Expert Report
                       Corp., et al                                        Southern District of Alabama
  1/2019 17-00969      County of Clackamas et al v MERS, et al             United States District Court, District of Expert Affidavit
                                                                           Oregon
  1/2019 17-00969      County of Clackamas et al v MERS, et al             United States District Court, District of Expert Report
                                                                           Oregon
  1/2019 18CA013901    HSBC Bank USA NA as Trustee, et al v. Kathleen A. Circuit Court, County of Palm Beach,        Expert Report
                       Ryan, et al                                         State of Florida
  1/2019 18-75904      In Re: Joann Kolnberger                             United States Bankruptcy Court, Eastern Expert Affidavit
                                                                           District of New York
  2/2019 13-15527      In Re: Marshall Sylver                              United States Bankruptcy Court, District Expert Report
                                                                           of Nevada
  2/2019 16-07078      Musteen v. Carrington Mortgage Services             United States Bankruptcy Court, Western Expert Report
                                                                           District of Arkansas                      Trial Testimony
  3/2019 18-14025      In Re: Carl M. Dickson                              United States Bankruptcy Court, Western Expert Affidavit
                                                                           District of Wisconsin
  4/2019 17-00466      Polanco v. HSBC Bank USA NA, et al.                 United States District Court, Western     Expert Report
                                                                           District of North Carolina
  4/2019 19CV44032     Christopher Dufresne, et al v. JPMorgan Chase       Superior Court, County of Calaveras,      Expert Affidavit
                       Bank NA, et al                                      State of California
  5/2019 17-00466      Polanco v. HSBC Bank USA NA, et al.                 United States District Court, Western     Deposition
                                                                           District of North Carolina
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  5/2019 2018 CA          FNMA v. George Stephen Lakner                      Superior Court, District of Columbia     Expert Report
         000158
  6/2019 C17-01031      Saviour Azzopardi v. Deutsche Bank as Trustee, et Superior Court, County of Contra Costa, Expert Report
                        al                                                  State of California
  7/2019 18-420         Karl L Granzow v. Wilmington Trust, et al           United States Bankruptcy Court, District Expert Report
                                                                            of Maryland
  7/2019 SCV 264221     Linda J. Moore v Ocwen Loan Servicing, et al        Superior Court, County of Sonoma, State Expert Affidavit
                                                                            of California
  7/2019 18-00254       David St. Amour v. Federal Home Loan Mortgage United States District Court, District of       Expert Affidavit
                        Corp, et al.                                        Rhode Island
  8/2019 13-07031       Jose Trevino et al v. Caliber Home Loans, Inc.      United States Bankruptcy Court,           Trial Testimony
                                                                            Southern District of Texas
  9/2019 16-03148       Cristina Angelina Neria v. Wells Fargo Bank, N.A., United States Bankruptcy Court,            Expert Report
                        et al.                                              Northern District of Texas
 12/2019 14-32911       Cristina Angelina Neria v. Wells Fargo Bank, N.A., United States Bankruptcy Court,            Expert Affidavit
                        et al.                                              Northern District of Texas
 12/2019 14-41923       In Re: Thomas Hoffman                               United States Bankruptcy Court,           Expert Affidavit
                                                                            Northern District of Ohio
 12/2019 C17-01031      Saviour Azzopardi v. Deutsche Bank as Trustee, et Superior Court, County of Contra Costa, Expert Affidavit
                        al                                                  State of California
  1/2020                Chrisopher Blake v Nationstar Mortgage LLC, et al Superior Court, County of Orange, State Expert Affidavit
                      0                                                     of California
  1/2020 2016-33024-CA- US Bank NA v. Peru Star LLC, et al                  Circuirt Court, 11th District, Miami-Dade Expert Affidavit
         01                                                                 County Florida
  1/2020 18-420         Karl L Granzow v. Wilmington Trust, et al           United States Bankruptcy Court, District Deposition
                                                                            of Maryland
  2/2020 CJ-2017-03262 Fisher v PHH Mortgage Corporation                    District Court in and for Tulsa County,   Deposition
                                                                            State of Oklahoma
  2/2020 2013-27149-CA- Ricardo A. Rivas, et al v. JPMorgan Chase Bank NA Circuit Court, 11th District, Miami-Dade Expert Affidavit
         21                                                                 County Florida
  2/2020 2:19-cv-0085- Roger Todd v. Ocwen Loan Servicing Inc., et al       United States District Court, Souther     Expert Affidavit
         JMS-DLP                                                            District of Indiana
  3/2020 2:16-CV-01718- Keith Hunter, et al v. Bank of America, N.A., et al United States District Court, Western     Expert Report
         raj                                                                District of Washington
  3/2020 L-3764-17      Willoughby, et al v. DB50-2007-1 Trust, et al       Superior Court, State of New Jersey       Expert Report
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  5/2020 18-cd-05262     Gillin, et al v. Bayview Loan Servicing LLC, et al     United States District Court, Eastern       Expert Report
                                                                                District of Pennsylvania
  5/2020 09-65171        In re: William K. Haines Jr., et al                    United States Bankruptcy Court,             Expert Affidavit
                                                                                Northern District of Ohio
  5/2020 18-420          Karl L Granzow v. Wilmington Trust, et al              United States Bankruptcy Court, District    Expert Affidavit
                                                                                of Maryland
  8/2020 CV-2019-        S Todd Williams, et al v. Specialized Loan Servicing Circuit Cour of Jefferson County,             Expert Affidavit
         901361          LLC                                                    Alabama
  8/2020 19CI000415      U.S. Bank as Trustee for NRZ Past Through Trust        Court of Common Please, Ross County,        Expert Affidavit
                         XIV v. John S. Baxter, et al                           Ohio
  8/2020 01-20-0000-     Jose Trevino et al v. Select Portfolio Services, Inc., United States Bankruptcy Court,             Expert Report
         0259            et al                                                  Southern District of Texas
  9/2020 19-1279-LPS-    Dean Zinetti, et al v. Deutsche Bank National Trust United States District Court, District of      Expert Report
         JOH             Company, as Trustee, et al & Ocwen Loan Servicing Delaware
                         LLC
  9/2020 18-23693        In re: Shirley Monica Bruce                            United States Bankruptcy Court,             Expert Report
                                                                                Southern District of New York
  9/2020 20-cv-00229     Esther Lopez v. LoanCare; New Rez, et al.              United States District Court, District of   Expert Report
                                                                                Nevada
 10/2020 01-20-0000-     Jose & Teresa Trevino vs. Select Portfolio Servicing, American Arbitration Association             Arbitration Expert Testimony
         0259            et al.
 11/2020 16-03148        Christina Angelina Neria v. Wells Fargo Bank, NA, United States Bankruptcy Court,                  Trial Testimony - Daubert
                         et al                                                  Northern District of Texas
 11/2020 19-80708        In Re: Andrew B. Smith, Debtor                         United States Bankruptcy Court, Middle      Expert Affidavit
                                                                                District of Alabama
 12/2020 17-51128        In Re: James Blake Sibley, et al.                      United States Bankruptcy Court,             Expert Affidavit
                                                                                Northern District of California
  4/2021 20-03327        Rafeeq Ahmed v. West Coast Servicing Inc., et al. United States District Court, Eastern            Expert Report
                                                                                District of Pennsylvania
  4/2021 L-3764-17       FRT 2011-1 Trust v Tamilyn Willoughby v. DB50-         Superior Court, State of New Jersey         Deposition Testimony
                         2007-1 Trust, et al.
  4/2021 20-02735        Dennis Halfpenny, et al v. Nationstar Mortgage LLC United States District Court, Northern          Expert Report
                         and SN Servicing Corporation                           District of Illionois
  4/2021 L-003544-19     TD Bank N.A. v. Paterson Medical Plaza, et al.         Superior Court of New Jersey                Expert Affidavit
                       Case 23-01212-MEH               Doc 14-3 Filed 09/25/24 Entered 09/25/24 16:03:57                                  Desc
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                                                                             Case Listing

Date     Case No.         Case Name                                             Court                                        Type
  5/2021 2018-037059-     The Bank of New York as Trustee, et al v. Julie       Circuit Court, Eleventh Judicial Circuit,    Trial Testimony
         CA-01            Nicolas, et al                                        Count of Miami-Dade, State of Florida

  5/2021 2018-037059-     The Bank of New York as Trustee, et al v. Julie       Circuit Court, Eleventh Judicial Circuit,    Expert Affidavit
         CA-01            Nicolas, et al                                        Count of Miami-Dade, State of Florida

  5/2021 2016-33024-CA- US Bank National Association as Trustee, et al v.       Circuit Court, Eleventh Judicial Circuit,    Expert Affidavit
         01             Peru Star, LLC, et al                                   Count of Miami-Dade, State of Florida

  6/2021 19-03023         Joseph Michael Black, et al v. Wells Fargo Bank    United States Bankruptcy Court, Middle Expert Report
                                                                             District of Alabama
  6/2021 RG18910729    Carole Neal v. Wells Fargo Bank, et al                Superior Court, State of California,    Expert Affidavit
                                                                             County of Alameda
  6/2021 16-03148      Cristina Angelina Neria v. Wells Fargo Bank, N.A., United States Bankruptcy Court,            Trial Testimony
                       et al.                                                Northern District of Texas
  7/2021 21-05008      Cale, et al v. Select Portfolio Servicing Inc., et al United States Bankruptcy Court,         Expert Report
                                                                             Northern District of Ohio
  7/2021 20-00709      Sabree v Pennymac Holdings LLC, et al                 Unite States District Court, Western    Expert Report
                                                                             District of North Carolina
  8/2021 16-08254      Racanelli v. Bank of America, N.A. et al              United States Bankruptcy Court, Souther Expert Report
                                                                             District of New York
  8/2021 PC-2020-05883 Blue Water Investments LLC v RI Property Wire LLC Superior Court, State of Rhode Island       Expert Affidavit

  8/2021 2018-CA-         HSBC Bank USA NA et al, v Kathleen A Ryan, et al      Circuit Court, Fifteenth Judicial Circuit,   Deposition
         013901                                                                 Palm Beach County, State of Florida

  9/2021 19-01279-LPS- Dean Zinetti, et al v. Deutsche Bank National Trust United States District Court, District of         Deposition
         JLH            Company, as Trustee, et al & Ocwen Loan Servicing Delaware
                        LLC
  9/2021 09-33148       Joseph Michael Black, et al v. Wells Fargo Bank     United States Bankruptcy Court, Middle           Deposition
                                                                            District of Alabama
 12/2021 20-cv-04467- Elizabeth Panzarella, et al v. Rushmore Loan          United States District Court, Eastern            Expert Report
         PD             Management Services, LLC                            District of Pennsylvania
 12/2021 2:16-CV-01718- Keith Hunter, et al v. Bank of America, N.A., et al United States District Court, Western            Deposition
         raj                                                                District of Washington
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Date     Case No.        Case Name                                             Court                                          Type
 12/2021 21-DV-04859     Julio Bernal et al v. Lakeview Loan Servicing LLC, et United States District Court, Central          Expert Report
                         al.                                                   District of California
  2/2022 20-cv-04467-    Elizabeth Panzarella, et al v. Rushmore Loan          United States District Court, Eastern          Deposition
         PD              Management Services, LLC                              District of Pennsylvania
  2/2022 16-1-177-09     Assn of Apt Owners of Plumeria Hale v Jeremy L        Circuit Court of the First Circuit, State of   Expert Report
                         Warta, et al                                          Hawaii
  3/2022 20-cv-02735     Dennis Halfpenny, et al v. Nationstar Mortgage LLC United States District Court, Northern            Deposition
                         and SN Servicing Corporation                          District of Illionois
  4/2022 18-cv-3844      Demona Freeman v. Ocwen Loan Servicing LLC, et United States District Court, Southern                Expert Report
                         al.                                                   District of Indiana
  4/2022 20-cv-00766     Mark A. Mack v. Specialized Loan Servicing LLC, et United States District Court, Eastern             Expert Report
                         al.                                                   District of Texas
  4/2022                 Kimara Himchak, et al v. Beneficial New Jersey, et Superior Court of New Jersey                      Expert Affidavit
                         al
  8/2022 19-ap-00218     Brenda M Fletcher v US Bank-Ocwen Loan                United States Bankruptcy Court, District       Expert Report
                         Servicing LLC, et al                                  of Maryland
  9/2022 19-ap-00218     Brenda M Fletcher v US Bank-Ocwen Loan                United States Bankruptcy Court, District       Deposition
                         Servicing LLC, et al                                  of Maryland
  9/2022 F000103-22      BCMB1 Trust v. Laura A Tirado, et al                  Superior Court of New Jersey                   Expert Affidavit
 11/2022 F08534-20       Wilmington Saving Fund Society, et al v. Luisa        Superior Court of New Jersey                   Expert Affidavit
                         Ponce, et al.
  1/2023 F000189-22      Deutsche Bank as Trustee, et al v Josephat Okeke, Superior Court of New Jersey                       Expert Affidavit
                         et al
  3/2023 441428-V        Donna Kemp et al v. Nationstar                        Circuirt Court, Montgomery County,             Expert Report
                                                                               State of Maryland
  7/2023 22-00522        In re: Kristy A. Bautista-Harris                      United States Bankruptcy Court, Middle         Deposition
                                                                               District of Florida
  7/2023 2016-030551-    Pennymac Holdings LLC v Martha Valencia, et al        Circuit Court, Eleventh Judicial Circuit,      Expert Affidavit
         CA-20                                                                 Count of Miami-Dade, State of Florida

  8/2023 20-1776         Verdecias v. BSI Financial Services                    United States District Court, Eastern         Expert Report
                                                                                District of Wisconsin
  9/2023 21-01972        Fox v. Statebridge, et al                              United States District Court, District of     Expert Report
                                                                                Maryland
  9/2023 2022CV000005 CRS Properties v William Mossuto et al                    Circuit Court, State of Wisconsin             Affidavit
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                              Case 23-01212-MEH                       Doc 14-3 Filed 09/25/24 Entered 09/25/24 16:03:57                                                Desc
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Date     Case No.                 Case Name                                Court                                       Type
  9/2023 C21-0006RSL              Julian Flores, et al v. Wells Fargo Bank, N.A.
                                                                           United States District Court, Western       Expert Report
                                                                           District, State of Washington
 10/2023 F-1483-22     HG Recovery Fund I LLC v Jimenez                    Superior Court of New Jersey                Expert Report
  1/2024 002129-23     Wells Fargo Bank as Trustee, et al v. Bahaa Shaker, Superior Court of New Jersey                Expert Report
                       et al
  1/2024 3:22-cv-00084 Francis J. Castro v. Nationstar Mortgage LLC        United States District Court, Middle        Expert Report
                                                                           District, State of Tennessee
  1/2024 23-1175AC     Richard Welsh, et al v. NS193, LLC and Statebridge Chancery Court, Jackson County, State of Expert Affidavit
                       Co LLC                                              Mississippi
  2/2024 2022-903399 Transam Holdings LLC v. Calvin Brown                  Circuit Court, Jefferson County, State of Expert Affidavit
                                                                           Alabama
  3/2024 002129-23     Wells Fargo Bank as Trustee, et al v. Bahaa Shaker, Superior Court of New Jersey                Deposition
                       et al
  3/2024 23-01039      Sonia Lopez v. Unified Mortgage Service, et al.     United States Bankruptcy Court, Eastern Expert Report
                                                                           District of California
  3/2024 23-00002      Janice Ray Owens v. Newrez LLC, et al.              United States Bankruptcy Court, Eastern Expert Report
                                                                           District of North Carolina
  4/2024 21-00048      Judy Williams v Renasant Bank                       United States Bankruptcy Court,             Expert Affidavit
                                                                           Northern District of Alabama
  5/2024 23-00002      Janice Ray Owens v. Newrez LLC, et al.              United States Bankruptcy Court, Eastern Deposition
                                                                           District of North Carolina
  7/2024 22 CA 000220 Fifth Third Bank NA v. Michael J. Brady, et al       Circuit Court, Twentieth Judicial District, Expert Affidavit
                                                                           Lee County, State of Florida
  7/2024 23-01010      Home Deals of Maine, LLC v. US Bank NA as           United States Bankruptcy Court, District Expert Report
                       Trustee, et al.                                     of Maine
  9/2024 22-06262      Peter Feldman v. Deutsch Bank et al and PHH, et United States District Court, Eastern           Expert Report
                       al.                                                 District of New York


ADDENDUM TO CV and CASE LISTING
* expert testimony was stricken in case in post trial ruling.
** an order was entered on 07/30/2014 in BONY v Donny Marin, et al - Case No: 08-67540CA04659 in the Circuit Court - 11th Judicial Circuit - Miami-Dade Florida striking expert witness
disclosure due to irrelevant expertise. The designation, motion to strike, hearing, and order were all done without my knowledge. I was made aware of this order in August 2021. The
attorney in the case did not hire me or notify me. I have hired counsel and in the process of re-opening this case to correct the record as well as filing any necessary corrections to
previous testimony.
